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                                                                                      CLOSED
                             UNITED STATES DISTRICT COURT
                                DISTRICT OF NEW JERSEY


 JAMES MISSIRIS,

         Plaintiff,
                                                               Civil Action No. 13-7029
                 v.
                                                                       ORDER
 THOMAS Y. CHUN, M.C., et al.,

         Defendants.


        Before the Court is the Report and Recommendation (“R & R”) filed on February 11, 2015,

by Magistrate Judge James B. Clark, III (“Magistrate Judge Clark”) recommending that the

complaint of Plaintiff James Missiris be dismissed without prejudice for failure to prosecute his

case and comply with Court Orders. No objections have been filed to the R & R.

        This Court has reviewed the reasons set forth by Magistrate Judge Clark in the R & R and

the other documents in this matter.    Based on the foregoing, and for good cause shown,

        IT IS on this 27th day of February, 2015,

        ORDERED that the R & R of Magistrate Judge Clark is ADOPTED as the conclusions of

law of this Court; and it is further

        ORDERED that this case be dismissed without prejudice.

                                                     s/ Madeline Cox Arleo
                                                     Hon. Madeline Cox Arleo
                                                     United States District Judge
